Case 1:05-cv-01091-.]DT-STA Document 9 Filed 05/03/05 Page 1 of 3 Pa e|D 1

  

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IN THE UNITED sTATEs DISTRICT COURT 05,¢[¢ "\. 1
FoR THE WESTERN DISTRICT 0F TENNESSEE h ‘ /"-3 `~ /257
AT JACKSON ,n~ 5_:9»,_@ x 43 §
` ,".,.,., .'04
Hubert Ray Matthews, Sr., as Power of 590 /
Attorney of Hubert Ray Matthews, Jr., an l$’,_>g@
incapacitated person, diqu f

Plaintiff`,

v. CASE NO. l:05-CV-01091-JDT

Kindred Healthcare, Inc.; Kindred Healthcare
Operating, Inc.; Kindred Nursing Centers
Limited Partnership and Quentin J, Sahly, in
his capacity as Administrator of I-Iuntingdon
Health and Rehabilitation Center,

Defendants.

\_/V\»/\_/\_/\'/\_J\_/\_/\_/\./\_/\./\_/\_/\_/W

ORDER GRANTING DEFENDANTS' MOTION FOR PERMISSI()N TO
FILE OUT OF TIME AN EXHIBIT TO DEFENDANTS‘ MOTION TO DISMISS OR IN
THE ALTERNATIVE FOR SUMMARY JUDGMENT
This matter came before the Court on Defendants Motion For Permission to File Out of
Time an Exhibit to Defendants' Motion to Dismiss or in the Alternative for Summary Judgrnent.
The Court having considered Defendants' Motion finds that Defendants' Motion should be
GRANTED.
IT IS THEREFORE, ORDERED, ADJUDGED and DECREED that Defendants' Motion

For Permission to File Out of Time an Exhibit to Defendants' Motion to Dismiss or in the

Alternative for Summary Judgment is GRANTED.

v“- g ` §
Dated at Jackson, Tennessee, this day of , 2005.

This document entered on the docket sheet In oompttanoe
with ama 58 and/or 79 (a) FRCP on 5

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Notice of Distribution

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Honorable J ames Todd
US DISTRICT COURT

